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EXHIBIT C

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1/5/2015

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PAULA A. SIMS, IN THE DIS'I`R!CT COUT§T 9" 441 § /Grd,
Piaintiff J"
v. HARRlS COUN'I`Y, TEXAS

AMER}CA'S FAl\fl!LY DENTAL LLP,
Defendant

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PLA;NT§FF's ORIGJNAL Pern‘ton

"i`O THE HONGRABLE STA'I`E DISTR.ICT JUDGE:
_ COMES NOW, PAULA A. SIMS, Plnintif’t`, and complains cf AMERICA'S FAMILY
DENTAL LLP, Det`endant, ns fellows.'
I.
PARTIES

Plaintiff Paulu Sims is an individuai residing in Herris Ceunty, Texns.

Dei"endunt Arnerica's Fnrnily Dental LLP, is nn active, for profit, limited liability
partnership which may he served With process by sewing one ot`its partners, lush Gosncll, at
616 West Main Stteet, Tt)mball, Tesas 7?3'?5.

' tt.
VENUE

 

Venue of this action is proper in I~iatris County, Texas because the parties to this lawsuit
reside and transact business in_ Herris County, Texas, the actions, events, and transactions which
gave rise to the causes of action alleged herein took place in ilnrris Cuunty, Te:tss, and the
causes of action alleged herein also accrued in Han'is County, Te)tas_

lil. l
NATURE OF LAWSUIT

This is a lawsuit involving sex and pregnancy discrimination and is brought pursuant to

Titie VH of the Civil Rigiits Act nt` 1964, as emended, 42 USC Section 2000e et seq.

Defendant America's Farnily Dental LLP is a business which provides dental services lt ;KY'

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is engaged.in a business affecting commerce, as that term is defined in 42 USC Section ZOOOe(b).
ft has employed‘at ieast 15 employees for each working day in each of 20 or more calendar
weeks in the current or preceding calendar year alnd, thereiote, is an "employer" within the
meaning of 42 USC Section ZOODE(b).

l'V.

E_AQI§

De'l`endani hired the Plaintiff, a White female, in Deceinber 2008 in the position of
Registered Dentai Assistant. At all times relevant to this lawsuit Plaintift` worked i"or the
Defendant in ilarris County, Texas.

Defcndant_ is owned and operated by Dr. Josh Gosncll. Around May 2012 he promoted
the Plaintit`t` to Registered Dental Head. The promotion included a raise of about 54,000.00 a
yeat. Previously, Defendant paid the Plaintit`f at the rate ot`$ lti.OO/hour. Plaintiff worked about
50 hours a week, but was not paid overtime wages for the ten (l{i) overtime hours.l Dei`endant
paid the Piaintiff around $900.00/week, when, in fact, she shouid'have been paid no .less than
3990.00fweelt. At this rate, Dei`endant should have paid the Plaintii`f around $52,000.'00 a year1
plus the $4,000.00 a year tvage increase which went with Plaintifi‘s May Z{Jll promotion

Ho\vever, around lone 1, 2032 Plaintift` informed Dr. Gosnell that she was pregnant D_r.
Gosneii's reaction was bizarre `He told the Plaintii`f` he did not know whether to fire her or not,
and informed her he would have to consult with Casey Will<_erson, chistered Dental Assistant,
to determine what to do with her. On lane 6, 2012 Piaintiff met with Dr. Gossneil, Reha R.odano,
Manager, and Dr. Turner. They informed the Piaintifi` that she would be demoted from
Registeted Dentai Assistant to l-iygiene Assistant but that her wages would stay the same. 'i`hey
justified the demotion stating they did not want the.Plaintiff_ to work around nittous.

Since informing Dr. Gosnell of her prcgnancy, he continued to make comments to cow
workers and patients that he did not know what he was going to do with the Plaintit"'i"1 commented

that Ptaintit`t`was pregnant-, and that he was going to fire her. He also told the Plaintii“i, literaliy,

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that he was going to fire her due to her pregnancy l-lc also jolted around the office that it
anything went wrong around the office it was due to Plaintiff's pregnancy Additlonally, when
Rodano interviewed new hires, Dr. Gosnell would interrupt the interviews to ask the female
applicants if they were pregnant, sterile or wearing a chastity belt. Dr. Tumer was informed of
this matter. On I‘\iovember 12, 2012 Plaintift` was terminated

There have been other pregnant females Defendant employed along the years. Many of
them resigned after notifying Defendant of their pregnancy and after Dr. Gosnell created a
hostile work environment for them. One was terminated while on maternity leave

Subsequent to these events Plaintii`f timely tiled, on December tl, 2012, a charge of
discrimination against the Defendant with the Equal Employment Opportunity Commissio_n.
The charge ai|eged sex and pregnancy discrimination

On October 21, 2015 the EE,OC issued the Plaintiff a right to_ sue, thereby allowing her to
sue Det`endant in court. Plaintiff filed this action within ninety (90) days of her receipt of the

right to sue.

V.
PLAINT!FF'S CAUSE OF ACTION FOR SEX DISCRIMINATION
Plaintiffrealleges all factual allegations set forth above and would show that Defendant is
liable to her for sea and pregnancy discrimination under 't`itle VII of the Civil Rig.hts Act of
1964, as amended At all times relevant to this lawsuit Piaintiff was, on account of her sex,
female, and pregnancy, a member of a protected class Defendant treated Piai_ntiff less favorably
in the terms and conditions of her employment than its mate employees because of her sex,

female and pregnancyl This discrimination is the proximate cause of both__economic and mental

damages suffered by the Piaintiff.

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Page4 _

Piaintii`t` further realleges ali facts stated above and would show that Dei`endanl is liable '
to her for unlawful and discriminatory termination of empioyment. Piaintit`t"s sex, feniale, and
pregnancy Were, each, a motivating factor in Pi`aintift*s termination

As a proximate result of the sex and pregnancy discrimination to which she was
subjected, Plaintit`f suffered extensive economic and mental damages

Plaintit`t` satisfied ali jurisdictional and procedural prerequisites for bringing this cause of

action.

VI.

Pursuant to Texas Ruie of Civii Procedure 54, all conditions precedent to Plaintiff`s right

to recover damages against tire Det`cndant recited herein have occurred cr have been performed
Vil.

Detcndant’s refusal to abide by its obiigations has made it necessary for Plaintift` to
employ the undersigned attorney to fite this lawsuit As sncii, Plaintiff requests this court to
award a reasonable fee for the attorneys services rendered and to be rendered herein under beth
customary and statutory iaw.

Vlil.
v REOUEST FOR JURY TRlAL

Plaintiff requests a trial byjury and tenders the jury Fec.

IX.
DAM_ME§

Piaintift` is now suffering and will continue to suffer irreparable injury, monetary,
emotional, actual, conseqttential, and compensatory damages as a result of Defendant‘s wrongii.ii
actions unless and until this court grants reliet`.

Det`endant‘s actions against the Piainti'if have been perpetrated with maliee, in bad faith,

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Pa'ge 5
and With reckless disregard i`or her rights Therelore, Plaintifl` requests the court to impose
exemplary damages
K.
PRAYER FOR R.ELIEF

WHEREFORE, PR_EMLSES CONSIDERED, Plaintiff Paula A. Sims prays that
Defendant America‘s Family Den.tal LLP be cited to appear and answer and that on final trial
Plaintit'l`he granted relief as follo\.vs:

l. lodginth against the Del`endant in excess o'l`the minimum jurisdictional limits ot`
this Court;

2. lnjnnctive relief and a directive by the court that Defendant’s actions violated
Title Vll ot` the Civil Rights Act of l964, as amended, and that befendant cease and desist from

such conduct in the Future.

3. An award et actual, consequential, and compensatory damages on all counts;
4. An award of punitive damages on all counts;
5. Costs of suit and reasonable attorneys fees;

6. Prejudgrnent and postjudgment interest as provided by law; and
7. Such other and further reliet`, in law and in equity, to which Plaintifi` may be justly
entitled

Respectfully submitted,

BY: liss/f pater sims

 

Paule Sinls

9115 Oninge Siren
Hurnb|e, Texas 77338
'l`el 832-743-35?i
Attorney pro se

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DEFENDANT AMERICAS FAMILY DENTAL LLP

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Atta¢:hed 15 3 Cupy Df PLAINTIFF'S ORIGINAL PE'I‘ITION

YOU HAVE BEEN SUED, You may employ an attorney If you or your attorney do not flle a
wrltten answer wlth the Dlstrlct Clerk who issued thle cltatlon by 10 00 a m on the Monday
next followlng the expiration of 20 days after you were served this cltatlon and petltlon,
a default judgment may be taken agalnst you

'f'o or-'FIcER SERVING
Thls cltatlon was lssued on Tth day of January, 2015, under my hand and

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qBGHRIS D IEL, Dlstrlct Clerk

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Constable Return of Corporatlon

Cause # 201600623 Trackmg # 23203897

 

In the case of SIMS PAULA VS AMERICAS FAMILY DEN'I`AL LLP a CITATION and attached p_etlhon
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AMER_`[CAS FAMILY DENTAL LLP BY SERVI.`NG ITS REGISTER

 

Scrvlce of Corporatlon

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summonmg AMERICAS FAM]LY DENTAL LLP a Corporatlon at 616 West Mam Street Tomball ,

Texas 7 23 25 By dehvermg to JOSH GOSNELL m person the registered agent of send Corporat:on a true
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- Mark Herman , Constable Prcclnct #4
by Deputy STE;:EE§ARCLA Harrls County Tcxas
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By: Joshua Bovei|

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CAUSE NO. 2016-00623
PAULA SIMS IN THE DISTR]CT COURT OF

v_ HARRIS C()UNTY, TEXAS

ammemco:¢m

AMERICA’S FAMILY DENTAL LLP 269"' JUI)I.CIAL DISTRICT
DEFENI)ANT’S ORIGINAL ANSWER,

America’s Family Dental LLP ("‘Aanerica’s Farnily Dental”), the De'l`endant in the above
styled and numbered cause ol`action, in response to Plainti't`t"s Origina| Petition filed against it,
respectfully shows unto this Honorable Court as follows:

I. GENERAL DENIAL

l. As authorized by Ruie 92 ofthe Texas Rules o't`Civil Procedure, America’s Family l
`Dental enters a general denial of all matters pleaded by Plaintiff.

II. DEFENSES AND AFFIRMATIVE DEFENSES

2. Plaintit`f”s Petition fails, in Whole or in part, to State a claim upon Which reliefmay
be granted

3. Upon information and beliel", Plaintil`l`has l`ailed to meet the conditions precedent to
an action under Titlc VIl.

4. Some or all ot` Plaintii`f’s claims may be barred by the applicable statute of
limitations or 'l`ailure to exhaust administrative remedies within the statutory period

5.7 P|aintiff’s claims for damages are limited, in whole or in part, by the applicable
Statulory caps.

6. Det`cndant asserts all ofthe Del"endant’s decisions With respect to the Plainti'f`t".were

based on legitimate2 nondiscriminatory reasons and were not pretexts for discrimination

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7. Plaintift"s claims are barred or limited to the extent Piaintiff has faiied to mitigate
her damages

8. Plaintift"s claims are barred, in Whole or in part by the doctrines ofwaiver, estoppel,
laches and unclean hands.

9. 'i`o the extent that Piaintiff"s allegations exceed the reasonable scope and
investigation ofthe charges ofdiscrimination that she filed, they are barred.

10. 'i`o the extent that P|ainti ff engaged in misconduct fraud, or other conduct that was
discovered after Plaintiffapplied for emp loyment, any remedy otherwise available to Plainti ffin this

action is limited by the after-acquired evidence doctrine

1 l. Defendant asserts that punitive damages are not assessable
`12. `Defendant asserts that Plainti'ff is not entitled to attorneys’ fees.
13. in the event that Plaintiff is entitled to any recovery, Defendant is entitled to a set-off

in the amount that Plaintiff actually received, or in the exercise of reasonable diligence could have
received, from other sources of recovery.

14. Defendant has made good-faith efforts to prevent discrimination in its worl<place, and
cannot be liable for the decisions of its agents, if any, or for punitive damages, to the extent the
challenged employment decision was contrary to its good-faith efforts to comply with anti-
discrimination statutes

15. Defendant reserves the right to amend or assert additional defenses as they become

apparent throughout the factual development of this case.

2213-865 America's t-`amily Demal\(l[}t)l Paula Sirns, Claim:mt\\pleadings\answcr.nrig,wpd 2

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III. DEFENDANT’S SPECIAL EXCEPT|ONS
TO PLA]NTI_FF’S ORIGINAL PETITION

l6. Defendant specially excepts to Paragraph V of Plaintiff's Original Petition on the
ground that it alleges that “Defendant treated Plaintiffless favorably in the terms and conditions of
employment than its male employees because ofher sex, female, and pregnancy...” but fails to plead
any facts upon which the conclusory allegation resls. Defendant requests that the court sustain this
Speciai exception and order that Plaintil"famend her pleading to provide fair notice ofthe underlying
facts to support the conclusory allegation that Defendant treated Plaintiffless favorably in the terms
and conditions of employment than its male employees because ofher sex.

l'i. Defi`endant specifically excepts to Paragraph lX ofPlaintifl”s Original Petition on the
ground that it alleges that Defendant’s actions against the Plaintiffwere perpetrated with malice, in
bad faith, and with reckless disregard for her rights, but fails to plead any facts supporting such
conclusory al legation. Defendant requests that the court sustain this special exception and order that
Plaintiff amend her pleading to provide fair notice of the underlying facts upon which she bases her
allegation ofmalice, bad faith and reckless disregard for Plaintiff’$ rights

lS. Defendant specifically excepts to P|aintifi"s Petition on the ground that Plaintifffai[ed
to plead the discovery level as required by Rule 190.1 of the Texas Ruies ofCivil Procedure. A
plaintist failure to piead as required by Rule 190.1 is subject to speciai exception 'Fex. R. Civ. P.
l90.l, Comment l.

19. Aclditionaliy, Defendant specifically excepts to Plaintifl"'s Original Petition on the
ground that it fails to specify the maximan amount of damages claimed as required by Texas Rules
ofCivil Procedure 47©. According to Rule 47, “[U]pon special exception the court shall require

the pleader to amend so as to specify the maximum amount claimed.” Tex. R. Civ. P. 47. “A party

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that fails to comply with Rule 47'© ofthe Texas Rules ofCivil Procedure may not conduct discovery
until the party’s pleading is amended to comply.” Id. Accordingly, Plaintil"f must plead the
maximum amount ofdamages sought and Plaintifl"may not conduct discovery until her pleading is
amended to comply with Rule 47. Id.

20. Defendant requests the Court sustain its Special Exceptions and order Plaintifl` to
replead and cure her pleading defects and ifPlaintiffdoes not cure her defects that Plaintifi"s action
be dismissed

IV. RESPONSE TO DEMAND FOR J`URY TR]AL

2i. Plaintiff is not entitled to a jury trial on all ofthe claims and issues raised in her

Original `Petition, and Defendant does not consent to ajury trial ofsuch issues.
V. PRAYER

W`I-lEREFORE, PREl\/IISES CONSI.DERED, Defendant prays that Piaintiff"s action be

dismissed with prejudice, and that the Court award Defendant its costs including reasonable

attorney’s 'fees, and any other and further relief that is deemed to bejust and proper.

Respectfully Submitted,
WARD LAW FIRM

By: /s/David A. Ward. .lr.
David A.Ward jr.
SBN 00785177
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The Woodlands, Texas 77380
Telephone: 281-362-7728
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ward@dwardlaw.com
ATTORNEY FOR DEFENDANT

 

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CERTIFICATE OF SERV]CE

l certify that pursuant to the Texas Rules ofCivil Procedure, a true and correct copy of
the foregoing pleading was filed with the I*Iarris County District Clerl< and forwarded to all

counsel of record via the Court’s TEXFILE electronic filing system on this lt)th day ofFebruary,
20l 6:

 

Pro Se
Paula Sims sims.beatrice@vahoo.eom
91 15 Orange S iren Cl\/lRRR7004l350000269156771

Humble, Texas 77338

/s/David A. Ward_ Jr.
.David A. Ward, .lr.

Z:\]B&l Amcrica's Farnily Dental\()(l[}.'£ Pau]a Sirns, Claimant\pleadings\answer.orig.wpd 5

